             IN THE UNITED STATES DISTRICT COURT FOR THE
                     WESTERN DISTRICT OF MISSOURI
                           WESTERN DIVISION

UNITED STATES OF AMERICA,                    )
                                             )
              Plaintiff,                     )
                                             )
       v.                                    )   Case No. 02-0114-01-CR-W-NKL
                                             )
JAMES R. NICHOLS,                            )
                                             )
              Defendant.                     )

                                         ORDER

       Before the Court is Defendant James Nichols' pro se motion [Doc. # 414] for

reconsideration of the Court’s Order denying a Certificate of Appealability [Doc. # 413] on

the Order denying Defendant’s Petition for Writ of Error Coram Nobis and/or Audita Querela

[Doc. # 410]. Defendant brings his motion under Rule 59 of the Federal Rules of Civil

Procedure.

       He argues that the Court erred – apparently in its Order on his Petition for Writ of

Error Coram Nobis and Audita Querela – in construing his request for coram nobis relief as

a motion for relief from sentence under 28 U.S.C. § 2255 after concluding that coram nobis

relief was unavailable. As the Court stated in its Order on Defendant’s Petition for Writ of

Error Coram Nobis, regardless of how the petition was construed, it was not meritorious.

       Defendant does not raise new arguments concerning his Application for a Certificate

of Appealability or demonstrate a manifest error of law. “Rule 59(e) motions serve a limited

function of correcting manifest errors of law or fact or to present newly discovered




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evidence.” Innovative Home Health Care, Inc. v. P.T.-O.T. Assocs. of the Black Hills, 141

F.3d 1284, 1286 (8th Cir. 1998)) (citations omitted). As stated in the Court’s first Order on

Defendant’s Application for a Certificate of Appealability [Doc. # 413], he has not made a

substantial showing that jurists of reason would find it debatable whether his claim was

procedurally defaulted; even if he could have shown otherwise, under the facts of this case,

no reasonable jurist would find Nichols’ substantive claims debatable. See generally Langley

v. Norris, 465 F.3d 861, 863 (8th Cir. 2006).

       Therefore, Nichols’ motion for reconsideration [Doc. # 414] is DENIED.



                                                  s/ Nanette K. Laughrey
                                                  NANETTE K. LAUGHREY
                                                  United States District Judge
Dated: March 24, 2010
Jefferson City, Missouri




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